Case 3:18-bk-32486        Doc 30      Filed 10/01/18 Entered 10/02/18 16:00:12         Desc Main
                                     Document      Page 1 of 74


                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION AT DAYTON

In re:
                                                   Case No. 18-bk-32486
         Jimmy D. Brock
                                                   Chapter 13
         Lydia J. Brock
                                                   Judge Beth A. Buchanan
                          Debtors.

 MOTION FOR RELIEF FROM STAY AND RELIEF FROM CO-DEBTOR STAY WITH MEMORANDUM IN
 SUPPORT CONCERNING REAL PROPERTY AT 5348 STATE ROUTE 123, FRANKLIN, OHIO 45005

    Home Builders Finance, Inc. (“Home Builders”), a creditor of Debtor Jimmy D. Brock

(“Debtor” or “Mr. Brock”) and a party in interest, has moved this Court in a separate motion for

an Order confirming that, under § 362(c)(3) of the United States Bankruptcy Code, the

automatic stay does not apply to Home Builder’s Warren County Foreclosure Action (as defined

below) against Debtor Jimmy D. Brock (“Inapplicability of Stay Motion”) (dckt 25). However, in

an abundance of caution, Home Builders hereby moves this Court for an Order modifying the

automatic stay, and granting relief from the co-debtor stay, to allow Home Builders to proceed

with the foreclosure sale in the Warren County Foreclosure Action (as defined below) of the

real property owned by Debtor and his wife, Co-Debtor Lydia J. Brock (“Co-Debtor” or “Mrs.

Brock”) (collectively, “Debtors”).

                                      MEMORANDUM IN SUPPORT

    For the reasons set forth in the Inapplicability of Stay Motion filed herewith, under

Bankruptcy Code § 362(c)(3) the automatic stay does not apply to Home Builder’s Warren

County Foreclosure Action (defined below) against Debtor and the real property owned by

Debtors located at 5348 State Route 123, Franklin, Ohio 45005 (“Property”). However, if the

Court finds that either the stay or the co-debtor stay applies, Home Builders is entitled to relief
Case 3:18-bk-32486      Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12          Desc Main
                                 Document      Page 2 of 74


from the stay and the co-debtor stay to proceed with the Sheriff’s sale of the Property in the

Warren County Foreclosure Action (defined below).

I.   FACTUAL AND PROCEDURAL BACKGROUND

     On July 10, 2002, Mr. Brock filed a Chapter 13 Bankruptcy proceeding in the U.S.

Bankruptcy Court, Southern District of Ohio (Case No. 02-35056). This 2002 bankruptcy

proceeding was dismissed, without a discharge being granted, on September 27, 2002.

     On May 22, 2003, Mr. Brock filed a Chapter 7 Bankruptcy Proceeding in the U.S. Bankruptcy

Court, Southern District of Ohio (Case No. 03-34416), and he received a discharge on October 4,

2003. However, on March 3, 2004, the U.S. Trustee for Region 9 brought an adversary

proceeding (Case No. 04-03055) seeking to have the discharge revoked and, on April 15, 2004,

the Debtor’s discharge was revoked by the Bankruptcy Court. The Debtor’s discharge was

revoked due to Debtor refusing to cooperate with the Trustee, refusing to turn over a certain

Ford Truck, and refusing to comply with a lawful Order of the Bankruptcy Court.

     On March 7, 2007, Debtor executed and delivered to Home Builders a Promissory Note

that was later amended several times (“Note”). Debtors also granted a mortgage on the

Property to Home Builders to secure the payment of the Note and the Mortgage was amended

several times (“Mortgage”). A copy of the Note, as amended, is attached hereto as Exhibit A

and a copy of the Mortgage, as amended, is attached hereto as Exhibit B. The Note, as

amended, was due and payable in full in September 2008, but Mr. Brock defaulted under the

Note by failing to pay the amount due. The default under the Note was a default under the

Mortgage.

     At the time Mr. Brock was in default for failing to pay to Home Builders the amount due

under the Note, Home Builders allowed Debtors additional time to obtain financing. When
                                              2
Case 3:18-bk-32486      Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12           Desc Main
                                 Document      Page 3 of 74


Debtors were unable to obtain financing, Home Builders filed a Complaint with Action for

Foreclosure against Debtors and other defendants on July 23, 2009 in the Warren County, Ohio,

Court of Common Pleas (Case No. 09CV74860) seeking judgment on the Note (as amended) and

seeking foreclosure of the Mortgage (as amended) on the Property owned by Debtors (“Warren

County Foreclosure Action”). The Note (as amended) matured, and was due in full, in

September 2008. On February 14, 2011, Home Builders was granted judgment against Debtors

in the Warren County Foreclosure Action and the process for a Sheriff’s sale of the Property

began. The Property was initially scheduled to be sold at a Sheriff’s sale on Monday, May 23,

2011.

    On May 20, 2011, the Friday before the scheduled Sheriff’s sale on Monday, Mr. Brock filed

a Chapter 13 Bankruptcy, together with a proposed Plan, in the U.S. Bankruptcy Court for the

Southern District of Ohio (Case No. 11-32790) (“First Prior Bankruptcy”). Home Builders filed an

objection to the Debtor’s proposed Chapter 13 Plan in the First Prior Bankruptcy. By an agreed

Order, entered on August 15, 2011 (“2011 Agreed Order”), Home Builders agreed to have its

objection to the Plan dismissed in exchange for a requirement that the Debtor refinance and

pay Home Builders in full within two years of the date of the confirmation of the Debtor’s Plan.

The Debtor’s Plan was confirmed in the First Prior Bankruptcy on November 21, 2011.

Therefore, Debtors had until November 21, 2013 to refinance and pay Home Builders the full

amount owed to it under the Note.

    The 2011 Agreed Order was amended by another agreed order dated December 3, 2013

that detailed the amount to be paid by Debtor to Home Builders. Thereafter, Home Builders

allowed Debtor additional time to refinance, but Debtor failed to pay Home Builders the

amount owed as required by the 2011 Agreed Order, as amended. The last payment that Home

                                               3
Case 3:18-bk-32486      Doc 30     Filed 10/01/18 Entered 10/02/18 16:00:12           Desc Main
                                  Document      Page 4 of 74


Builders received from anyone in the First Prior Bankruptcy was on December 4, 2013 in the

amount of $1,159.66 (Check No. 4241587 from the Bankruptcy Trustee). By Order dated

February 24, 2014, Home Builders was granted relief from the stay in accordance with the

earlier Orders and Bankruptcy Code § 362(d). The First Prior Bankruptcy was dismissed on July

16, 2014.

    After the stay was lifted, Home Builders began the process in the Warren County

Foreclosure Action to have the Property sold at Sheriff’s sale (including the required advertising

of the sale). The sale was initially scheduled to occur on June 2, 2014, but, due to a request by

Debtor to allow him additional time to refinance, Home Builders agreed to cancel the scheduled

Sheriff’s sale. A copy of the Warren County Agreed Order withdrawing the Property from sale is

attached hereto as Exhibit C.

    When Debtor was still unable to obtain financing, Home Builders again began the process

to have the Property sold at Sheriff’s sale. However, on July 29, 2014, thirteen days after the

First Prior Bankruptcy was dismissed, Debtor filed another Chapter 13 Bankruptcy in the U.S.

Bankruptcy Court for the Southern District of Ohio (Case No. 14-32724) (“Second Prior

Bankruptcy”) and any attempt to reschedule the Sheriff’s sale was prohibited. Debtor filed a

proposed Plan in the Second Prior Bankruptcy on the same day.

    Home Builders filed an objection to the Debtor’s proposed Chapter 13 Plan in the Second

Prior Bankruptcy and moved for dismissal, relief from stay, and for an order confirming the

inapplicability of the automatic stay. By an agreed Order, entered on November 13, 2014,

Home Builders agreed to have its objection to the Plan dismissed and its motion to dismiss

denied without prejudice in exchange for a requirement that Debtor pay Home Builders



                                                4
Case 3:18-bk-32486       Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12           Desc Main
                                  Document      Page 5 of 74


$115,423.00 with interest from July 29, 2014 at the rate of 5.635% per annum until Home

Builders was paid in full under Debtor’s Plan.

    By a second agreed Order, entered that same day (“2014 Agreed Order”), Home Builders

agreed to have its motions for relief from stay and for an order confirming the inapplicability of

the automatic stay denied in exchange for Debtor’s agreement that he would make timely

payments to the Trustee under the Plan and on the condition that if the Debtor failed to make

timely payments and cure his default within ten days after receiving notice thereof, Home

Builders would be entitled to an order granting relief from stay. The Debtor’s Plan was

confirmed in the Second Prior Bankruptcy on December 16, 2014.

    In or around October, 2016, Debtor stopped making the required payments under the Plan

and began making partial payments until in or around March, 2017, when he stopped making

payments altogether. Based on Debtor’s default, the Trustee moved to dismiss the Second Prior

Bankruptcy on April 18, 2017. By an agreed Order, entered May 24, 2017, the Court placed

Debtor on payment probation and ordered that the Second Prior Bankruptcy would be subject

to dismissal without further notice to the Debtor if he defaulted during the probationary

period. When Debtor failed to make the required payments during the probationary period, the

Court dismissed the Second Prior Bankruptcy on January 4, 2018. The last payment that Home

Builders received from anyone in the Second Prior Bankruptcy was on or about January 31,

2018 in the amount of $820.57 (Check No. 4433922 from the Bankruptcy Trustee).

    After the Second Prior Bankruptcy was dismissed, Home Builders again began the process

in the Warren County Foreclosure Action to have the Property sold at Sheriff’s sale (including

the required advertising of the sale). The sale was initially scheduled to occur on Monday,

August 13, 2018, but, due to the representation of Debtor’s counsel that he intended to file the

                                                 5
Case 3:18-bk-32486       Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12            Desc Main
                                  Document      Page 6 of 74


current bankruptcy by Saturday, August 11, 2018, Home Builders agreed to cancel the

scheduled Sheriff’s sale. A copy of the Warren County Agreed Order withdrawing the Property

from sale is attached hereto as Exhibit D.

    Debtors have proposed in the new Plan that they will pay Home Builders in full over a five-

year period.

    The Debtor’s current bankruptcy filing, and the proposed Plan, lack good faith and they are

each another attempt by Debtor to delay and hinder Home Builders from collecting on a loan

that was required, under the terms of the amended Note, to be paid in full in September 2008,

and pursuant to agreements in the First and Second Prior Bankruptcies, on or before November

21, 2013 and December 16, 2019, respectively. It has now been ten years since the Note

matured and was due and payable; enough is enough. Home Builders should be allowed to

proceed to have its collateral sold so Home Builders can be paid the amount it is owed.

    The Trustee has also filed an Objection to Confirmation of Plan (dckt 19) on the ground that

“Debtors’ Plan is not proposed in good faith.”

II. ARGUMENT

    A. HOME BUILDERS IS ENTITLED TO RELIEF FROM STAY

    If the Court determines that the stay applies, Home Builders moves this Court for relief

from stay to allow it to proceed with the Sheriff’s sale of the Property. For the reasons set forth

in the Inapplicability of Stay Motion, the stay is no longer in effect. However, if this Court

determines that the stay is still in effect, Home Builders is entitled to relief from stay under

either § 362(d)(1) or § 362(d)(4). Home Builders is also entitled to relief from the co-debtor

stay.

    Bankruptcy Code § 362(d)(1) and § 362(d)(4) provide as follows:

                                                 6
Case 3:18-bk-32486       Doc 30     Filed 10/01/18 Entered 10/02/18 16:00:12             Desc Main
                                   Document      Page 7 of 74




    (d) On request of a party in interest and after notice and a hearing, the court shall
    grant relief from the stay provided under subsection (a) of this section, such as by
    terminating, annulling, modifying, or conditioning such stay—
         (1) for cause, including the lack of adequate protection of an interest in
         property of such party in interest;
                                               ***
         (4) with respect to a stay of an act against real property under subsection (a),
         by a creditor whose claim is secured by an interest in such real property, if the
         court finds that the filing of the petition was part of a scheme to delay,
         hinder, or defraud creditors that involved either—
             (A) transfer of all or part ownership of, or other interest in, such real
             property without the consent of the secured creditor or court
             approval; or
             (B) multiple bankruptcy filings affecting such real property.
                                               ***

    The Debtor’s manipulations and abuse of the bankruptcy system discussed above is

evidence of his lack of good faith. Section 362 does not define what constitutes

“cause” under § 362(d)(1), and courts determine whether relief from the stay is appropriate on

a case-by-case basis. In re Gundrum, 509 B.R. 155, 162-163 (Bankr. S.D. Ohio 2014). However, a

lack of good faith is grounds for “cause” under § 362(d)(1). See In re Laguana Assoc. Ltd.

Partnership, 30 F3d 734, 737 (6th Cir. 1994) (“a debtor’s lack of good faith in filing for

bankruptcy may be the basis for lifting the automatic stay”); In re Bug Corporation, 500 B.R.

556, 562 (Bankr. E.D. Tenn. 2013) (“Courts have interpreted Section 362(d)(1)’s ‘for cause’

provision to allow a creditor relief from the automatic stay of the bankruptcy case was filed in

bad faith”). Debtor’s conduct in this case is evidence of this Debtor’s lack of good faith in filing

the current bankruptcy proceeding and Home Builders is entitled to relief from the stay for

cause under § 362(d)(1).




                                                 7
Case 3:18-bk-32486       Doc 30     Filed 10/01/18 Entered 10/02/18 16:00:12            Desc Main
                                   Document      Page 8 of 74


    Separately, Home Builders is entitled to relief from stay under § 362(d)(4) to proceed with

the Sheriff’s sale of the Property. Home Builder’s claim is secured by an interest in real

property, and the Debtor’s filing of the current bankruptcy was part of a scheme to delay,

hinder, or defraud a creditor that involved multiple bankruptcy filings affecting such real

property. See In re Lee, 467 B.R. 906, (B.A.P. 6th Cir 2012), citing with approval, In re Henderson,

395 B.R. 893, 902 (Bankr. D.S.C. 2008) (a court may infer an intent to hinder or delay from serial

bankruptcy filings if the debtor sought repeated bankruptcy protection for the sole purpose of

stopping foreclosure actions). Therefore, Home Builders is entitled to relief from stay to allow

the Sheriff’s sale to proceed.

    In accordance with Local Bankruptcy Rule 4001-1, Home Builders states the following:

    •   Arrearage. The arrearage in this case began in September 2008 when the Note
        matured and the Note was due and payable in full at that time. The last payment
        on the Note was from the Bankruptcy Trustee in the Second Prior Bankruptcy in
        the amount of $820.57 which was received by Home Builders on or about January
        31, 2018. As of October 1, 2018, the total amount due on the Note is $66,543.93,
        plus interest at the rate of $24.39 per day thereafter until the Judgment in the
        Warren County Foreclosure Action is paid in full.

    •    Real Estate. The following exhibits are attached hereto:

         Exhibit Document
            A     Note
            B     Mortgage
            E     Local Bankruptcy Form 4001-1(a)
            F     Deed upon which Debtor acquired title to the Property
            G     Judgment Entry in Foreclosure Action

    B. HOME BUILDERS IS ENTITLED TO RELIEF FROM THE CO-DEBTOR STAY

    Since Home Builders is entitled to have the stay lifted under § 362(d), Home Builders is

entitled to have the co-debtor stay under § 1301 terminated. See In re Morris, 365 B.R. 613, 619

(Bankr. E.D. VA. 2007). Moreover, continuing the co-debtor stay after the stay under § 362(a)
                                              8
Case 3:18-bk-32486      Doc 30     Filed 10/01/18 Entered 10/02/18 16:00:12               Desc Main
                                  Document      Page 9 of 74


has been terminated would irreparably harm Home Builders by preventing it from proceeding

with the Sheriff’s sale of the Property. Home Builders is entitled to relief from the co-debtor

stay.

III. CONCLUSION

    For all the reasons set forth above, Home Builders is entitled to relief from the stay and to

relief from the co-debtor stay.

                                                   /s/ John E. Haller
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                                                   Tel: 419.321.1418
                                                   Fax: 419.241.6894
                                                   Attorneys for Creditor Home Builders Finance, Inc.

                       CERTIFICATE OF SERVICE WITH 21-DAY NOTICE OF MOTION

     Creditor Home Builders Finance, Inc., by counsel, has filed its MOTION FOR RELIEF FROM STAY
AND RELIEF FROM CO-DEBTOR STAY WITH MEMORANDUM IN SUPPORT CONCERNING REAL PROPERTY AT 5348
STATE ROUTE 123, FRANKLIN, OHIO 45005 in this case. Notice is hereby given that unless a
responsive pleading is filed within 21 days from the date of this service, an order granting the
foregoing MOTION FOR RELIEF FROM STAY AND RELIEF FROM CO-DEBTOR STAY WITH MEMORANDUM IN
SUPPORT CONCERNING REAL PROPERTY AT 5348 STATE ROUTE 123, FRANKLIN, OHIO 45005 may be issued
by the Court without further notice or hearing as provided by LBR 9013-1(b). If you do not want
the court to grant the relief sought in the Motion, then on or before twenty-one (21) days from
the date set forth below in this certificate of service for the motion, you must file with the
court a response explaining your position by mailing your response by regular U.S. Mail to Clerk,
U.S. Bankruptcy Court, Southern District of Ohio, 120 West Third Street, Dayton, Ohio 45402 or
your attorney must file a response using the court's ECF system. The court must receive your
response on or before the above date. Your rights may be affected. You should read these

                                               9
Case 3:18-bk-32486         Doc 30       Filed 10/01/18 Entered 10/02/18 16:00:12               Desc Main
                                       Document     Page 10 of 74


papers carefully and discuss them with your attorney, if you have one in this bankruptcy case. If
you do not have an attorney, you may wish to consult one.

    You must also send a copy of your response either by (1) the court’s ECF system or by (2)
regular U.S. Mail to:

Wayne P. Novick (gratefullawyer2@gmail.com)             Jeffrey M. Kellner (jmkellner@dayton13.com)
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Cassandra Andres Rice (jmeiring@gplawdayton.com) 1
GOTTSCHLICH & PORTUNE, LLP
201 East Sixth Street
Dayton, OH 45402
Attorney for Creditor Miami Valley Hospital

    The undersigned further certifies that a copy of the foregoing MOTION FOR RELIEF FROM STAY
AND RELIEF FROM CO-DEBTOR STAY WITH MEMORANDUM IN SUPPORT CONCERNING REAL PROPERTY AT 5348
STATE ROUTE 123, FRANKLIN, OHIO 45005 was served upon the following parties via the Court’s ECF
system at the email address registered with the court1 or by ordinary U.S. mail, postage
prepaid,2 on October 1, 2018:

Wayne P. Novick (gratefullawyer2@gmail.com) 1           Jeffrey M. Kellner (ecfclerk@dayton13.com) 1
2135 Miamisburg-Centerville Road                        131 North Ludlow Street, Suite 900
Dayton, OH 45459                                        Dayton, OH 45402-1161

Jimmy D. Brock – Debtor 2                               U.S. Trustee 2
Lydia J. Brock – Co-Debtor 2                            c/o Assistant U.S. Trustee
5348 State Route 123                                    Office of the U.S. Trustee
Franklin, OH 45345                                      170 North High Street, Suite 200
                                                        Columbus, OH 43215-2417

D. Anthony Sottile (bankruptcy@sottileandbarile.com) 1 Bradley C. Smith (bsmithagb@flhslaw.com) 1
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                                                       10
Case 3:18-bk-32486        Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                                   Document     Page 11 of 74



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                                                      /s/ John E. Haller
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                                                     11
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 12 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 13 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 14 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 15 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 16 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 17 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 18 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 19 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 20 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 21 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 22 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 23 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 24 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 25 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 26 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 27 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 28 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 29 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 30 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 31 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 32 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 33 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 34 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 35 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 36 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 37 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 38 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 39 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 40 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 41 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 42 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 43 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 44 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 45 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 46 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 47 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 48 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 49 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 50 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 51 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 52 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 53 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 54 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 55 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 56 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 57 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 58 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 59 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 60 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 61 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 62 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 63 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 64 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 65 of 74
    Case 3:18-bk-32486                Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12                    Desc Main
                                               Document     Page 66 of 74

LBR Form 4001-1(a)
                                          UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF OHIO
                                                 WESTERN DIVISION
                                                _____________


    In re:   JIMMY D. BROCK                                          Case No:         18-bk-32486
             LYDIA J. BROCK                                          Chapter          13

                                               Debtor(s)             Judge
                                                                                    Beth A. Buchanan


                                      RELIEF FROM STAY / ADEQUATE PROTECTION
                                       EXHIBIT AND WORKSHEET — REAL ESTATE
                                          (For use as required by LBR 4001–1(a)(1))


                                                           5348 State Route 123, Franklin, Ohio 45005
Real property address which is the subject of this motion: _____________________________________________


DEBT / VALUE REPRESENTATIONS:

    Total indebtedness of the debtor(s) at the time of filing the motion
    for relief from stay (not to be relied upon as a payoff quotation)                                66,543.93
                                                                                                    $____________

    Movant’s estimated market value of the real property                                              250,000.00
                                                                                                    $____________

    Source of the estimated valuation     Warren County Sheriff's Office Appraisal
                                          _______________________________________________
                                          dated 07/07/18
STATEMENT OF ARREARAGE:

    (1) As of petition filing date:                                                                 $____________
                                                                                                       65,300.04
         Amounts paid after the date of filing to be applied to the prepetition default:                  0
                                                                                                    $____________

    (2) Postpetition:                                                                                     0
                                                                                                    $____________

    (3) Monthly payment amount:                                                                     $____________
                                                                                                         N/A
    (4) Date of Last Payment:                                                    01/31/18
                                                                                _________________

    (5) Amount of Last Payment:                                                                       820.57
                                                                                                    $____________


# of payments due postpetition                   N/A (through payment due mm/dd/yy)
                                               ________

# of payments received postpetition               N/A
                                               ________

# of payments in default postpetition            N/A
                                               ________

Total amount of postpetition payments currently in default
                                                                                                      1,243.89
                                                                                                    $____________

    + Postpetition late charges                                                                          N/A
                                                                                                    $____________

    + Other charges                                                                                      N/A
                                                                                                    $____________

                                                              – 120 –
    Case 3:18-bk-32486            Doc 30      Filed 10/01/18 Entered 10/02/18 16:00:12                       Desc Main
                                             Document     Page 67 of 74

        Foreclosure title work              N/A
                                        $______________

        Filing fee                          N/A
                                        $______________

        Skip trace                           N/A
                                        $______________

        Document acquisition costs           N/A
                                        $______________

        Service Process server              N/A
                                        $______________

        Escrow Shortage

             Hazard Insurance             N/A
                                        $______________ Dates: ______________

             Taxes                         N/A
                                        $______________ Dates: ______________

        Appraisal                         N/A
                                        $______________

        BPO charges                        N/A
                                        $______________

        Property Inspection                N/A
                                        $______________

        Other (specify)                    N/A
                                        $______________

= Total Postpetition Arrearage                                                                       1,243.89
                                                                                                   $____________


OTHER LOAN INFORMATION:

    Date of the Loan                                  07/20/07
                                                     _______________

    Current Interest Rate                            $24.39 per day
                                                     _______________     per judgment

                                                                         -0-
Money paid to and held by the mortgagee but not applied to the loan _______________; if held in the form of checks, balance
of such checks $ _______________,
                   N/A             and identity of holder of the checks ___________________________.
                                                                               N/A

REQUIRED ATTACHMENTS TO MOTION:
                                                                    There have been no post-Petition payments
        (a) In a Chapter 13 case, a postpetition payment history.
                                                                    to Home Builders.
         (b) In all cases, copies of documents which indicate movant’s interest in the subject property. For purposes of example
    only, a complete and legible copy of the promissory note or other debt instrument together with a complete and legible copy
    of the real estate mortgage should be attached. The mortgage should bear date stamps reflecting the recording date together
    with recording references reflecting the recordation of the mortgage with the appropriate county official. If the subject
    property is registered land, movant shall attach a copy of the registered land certificate or other documentation reflecting
    that the mortgage was memorialized as a lien on the registered land certificate.

This Exhibit and Worksheet was prepared by:
                                                               /s/ John E. Haller
                                                               ___________________________________
                                                                John E. Haller, Esq.
                                                                Attorney for Home Builders Finance, Inc.
                                                                41 South High Street, Suite 2400
                                                                Columbus, Ohio 43215
                                                                Telephone: 614.463.9441
                                                                Fax:       614.463.1108
                                                                Email:     jhaller@slk-law.com
                                                           –   121 –
                                                                Bar No.: 0031289
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 68 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 69 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 70 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 71 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 72 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 73 of 74
Case 3:18-bk-32486   Doc 30    Filed 10/01/18 Entered 10/02/18 16:00:12   Desc Main
                              Document     Page 74 of 74
